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CHARLES H. CHEVALIER
Director

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January 26, 2023
VIA ECY A
it is so ordered this</__ day
Honorable Georgette Castner, U.S.D.J. of , 202-3 |

United States District Court

District of New Jersey

Clarkson S. Fisher Building & U.S. Courthouse

402 East State Street

Trenton, New Jersey 08608

Attn: Ann Dello Iacono, Courtroom Deputy Specialist

  

orgefte Castner, U.S.D.J.

Re: Orexo AB et al. v. Sun Pharmaceutical Industries Limited, et al.
Civil Action No.: 20-12588-GC-DEA

 

Dear Judge Castner,

We, along with Steptoe & Johnson LLP, counsel for Plaintiffs Orexo AB and Orexo US
Inc., and Rivkin Radler LLP and Winston & Strawn LLP, counsel for Defendants Sun
Pharmaceutical Industries Ltd., Sun Pharma Global FZE, Sun Pharma Giobal Inc., and Sun
Pharmaceutical Industries, Inc., write to respectfully request the Court’s permission to use
electronic presentation materials at the trial in the above-referenced action scheduled to begin on
January 30, 2023,

The parties have engaged the services of FTI Consulting to provide presentation equipment
during the proceedings along with trial support. Accordingly, the parties respectfully request
authorization for access to the Clarkson S. Fisher Building & U.S. Courthouse on the afternoon of
January 27, 2023 at 1:00 PM fo bring in and install the following equipment:

Joint Equipment List

(7) 21.5" LCD Monitor (HDMD

(1) DaLite Portable Screen 100"

(£)} Projector

({} Document Camera with stand
(2) Logitech C930E Webcams with tripods
(2) HDMI distribution amplifiers

(4) Gooseneck microphones

(1) Fender speaker set

(1) Audio mixing board

(3) Laptops

(1) Tech table

+ XLR and HDMI cabling package

 
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GIBBONS P.C,

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Orexo Equipment List
(1) Tech table

(1) HDMI switch

(1) CAP-1 audio patch
(1) Printer with toner
(2) Mifi

(1) Hard Drive

USB Thumb Drives
Power Strips

Extension Cords

Sun Equipment List
(1) Tech table

(1) HDMI switch

(1) CAP-1 audio patch
(1) Printer with toner
(1) Mifi

(1) Hard Drive

(1) Tech Table

(1) Docking Station
(4) Laptops

USB Thumb Drives
Power Strips
Extension Cords

The FTI representatives who will be attending the trial are the following:

Harry AJ Fishburn — cell # 215-480-9589 (PA driver’s license # 27663918)
Conner Whetstone — cell # 940-600-9911 (VA driver’s license # AXXXXXXXX)

We thank the Court for its consideration in this regard. As always, if Your Honor wishes
to speak with counsel on this issue, we are available at the Court’s convenience.

Respectfully submitted,
s/ Charles H, Chevalier

Charles H. Chevalier

Ce: All counsel of record (via ECF and emai!)

 
